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(3/15)


                              UNITED STATES DISTRICT COURT
                                                           for
                                            Eastern District of Washington


U.S.A. vs.                   Rackliff, James                       Docket No.            0980 2:14CR00168-TOR-29

                                 Petition for Action on Conditions of Pretrial Release

         COMES NOW Anne L. Sauther, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant James Rackliff, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers sitting in the Court at Spokane, Washington, on the 3rd day of December, 2014, under
the following conditions:

Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall advise
the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact with
law enforcement. Defendant shall not work of the United States government or any federal or state law enforcement agency,
unless defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1:    James Rackliff was arrested on April 29, 2015, for a court order violation-domestic violence.

                             PRAYING THAT THE COURT WILL ORDER A WARRANT
                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:        May 12, 2015
                                                                  by      s/Anne L. Sauther
                                                                          Anne L. Sauther
                                                                          U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ ]   The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[X ]  Other: conditions of supervision to be modified.

                                                                            Signature of Judicial Officer

                                                                            May 15, 2015
                                                                            Date
